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UNITED STATES DISTRICT COURT... ye pur aca
MIDDLE DISTRICT OF FLORIDA * ?* 29 Pa 30
TAMPA DIVISION CLERK, US DISTRICT COURT
| MIDDLE DISTRICT FLORIDA
TAMPA, FLORIDA

UNITED STATES OF AMERICA

v. CASE NO. ¥:23% CY 32 EK MN Sew
ROBERT BIRCHUM 18 U.S.C. § 793(e)
INFORMATION

The United States Attorney charges:
COUNT ONE
(Willful Retention of National Defense Information)

From no later than in or about August 2008, up to and including on or
about January 24, 2017, in the Middle District of Florida, and elsewhere, the
defendant, ROBERT BIRCHUM, having unauthorized possession of, access
to, and control over documents relating to the national defense, did willfully

retain the documents and failed to deliver them to the officer or employee of

 

the United States entitled to receive them, to wit, the defendant without
authorization retained on a thumb drive in his residence two documents
classified at the TOP SECRET/SCT level from the National Security Agency
(NSA) relating to the national defense that discuss the NSA’s capabilities and

methods of collection of information.
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In violation of Title 18, United States Code, Section 793(e).

PORFEITURE

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1. The allegations contained in Count One are incorporated by
reference for the purpose of alleging forfeiture pursuant to the provisions of 18
U.S.C. § 793(h)(1).

2. Upon conviction of a violation] 18 U.S.C. § 793, the defendant

ROBERT BIRCHUM,
shall forfeit to the United States, pursuant to 18 U.S.C. § 793(h)(1), any

property constituting, or derived from, any proceeds the defendant obtained,

 

directly or indirectly, from any foreign government, or any faction or party or
military or naval force within a foreign cou ny, whether recognized or
unrecognized by the United States, as the result of such violation.

3. If any of the property described above, as a result of any act or

omission of the defendant:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third
person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be
subdivided without difficulty,

 
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the United States shall be entitled to forfeiture of substitute property pursuant

to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 793(h)(3).

ROGER B. HANDBERG
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